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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

HUGO VELASQUEZ, 12 CV 1619 JS-ETB

Plaintiff, STIPULATION OF DISMISSAL
vs.

MONARCH RECOVERY MANAGMENT.

 

Defendant,

 

IT IS HEREBY STIPULATED AND AGREED, by and between the plaintiff HUGO
VELASQUEZ and the Defendant, MONARCH RECOVERY MANAGEMENT that the above-
entitled action is hereby dismissed with prejudice, with each party to bear its own costs, pursuant

to Rule 41(a) of the Federal Rules of Civil Procedure.

Dated: New York, New York
September 14", 2012

By: Lee— L£ Nihliel- es

 

 

M. Harvey Rephen (3384) Kevin Barry McHugh

Attomey's for Plaintiff Attorney for Defendant

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SQoRDE BED:
E. OSes ae SO ORDERED:

[s | "JOANNA SEYBERT

(idanna Seybert, USDJ
Dated. G-Qo ~/2.

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